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         EXHIBIT 3
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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF OHIO
                   WESTERN DIVISION (CINCINNATI)
                         Case No. 1:17-CV-00754



    HAWES, et al.,
            Plaintiff,
            vs.
    MACY'S RETAIL HOLDINGS, INC.,
    and MACY'S WEST STORES, INC.,

            Defendants.




                    Video deposition of SARA HAWES, held in
    Buchalter, located at 1000 Wilshire Boulevard,
    Suite 1500, Los Angeles, California 90017, on
    Wednesday, February 12, 2020, commencing at 9:06
    a.m., before Sudny Gallardo, Certified Shorthand
    Reporter, Number 14023, in and for the State of
    California.
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             Video Deposition of Sara Hawes, 2/12/2020

                                                                                   35
1          Q.      When is the last time that you bought bed
2    sheets?
3          A.      Sometime last year.
4          Q.      From the time that you've moved out to
5    California, how many times do you think you've
6    purchased bed sheets?
7          A.      10, 20.
8          Q.      So that would work out to somewhere between
9    one to three times a year; does that sound right?
10         A.      Yeah, yes.
11         Q.      And the bed sheets that you've purchased,
12   have those all been for use in your own home?
13         A.      Yes.
14         Q.      None of them were gifts for other people or
15   anything like that?
16         A.      No.
17         Q.      When you buy bed sheets is there any
18   particular kind you like to buy?
19         A.      Yes.
20         Q.      So describe to me the kind of bed sheets
21   that you like to buy?
22         A.      I look for a certain hue of gray.                   That's
23   what I look for first.              Secondly, price and company
24   name because I am familiar with, you know, I'm an
25   avid consumer of sheets, and of course thread
